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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

***************** ***
SHISHPAL PUREWAL,        *
                         *
             Petitioner, *                           No. 11-244V
v.                       *                           Special Master Christian J. Moran
                         *
SECRETARY OF HEALTH      *                           Filed: April 21, 2014
AND HUMAN SERVICES,      *
                         *                           Stipulation; Hepatitis A vaccine;
             Respondent. *                           Guillain-Barre´ syndrome (“GBS”).
                         *
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Isaiah Kalinowski, Maglio, Christopher & Toale, Washington, DC, for Petitioner;
Lindsay Corliss, U.S. Department of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On April 17, 2014, respondent filed a joint stipulation concerning the
petition for compensation filed by Shishpal Purewal on April 18, 2011. In his
petition, Mr. Purewal alleged that the Hepatitis A vaccine, which is contained in
the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he
received on October 29, 2009, caused him to develop Guillain-Barré Syndrome
(“GBS”). Petitioner further alleges that he experienced the residual effects of this
injury for more than six months. Petitioner represents that there has been no prior
award or settlement of a civil action for damages as a result of his condition.

       Respondent denies that the Hepatitis A immunization is the cause of
petitioner’s alleged GBS, his current condition, and or any other injury.



       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $15,000.00 in the form of a check payable to petitioner,
        Shishpal Purewal. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 11-244V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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